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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


LOTTIE THOMPSON-GROVES and                        )
BILLY GROVES,                                     )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                )   CIVIL ACTION 19-0961-WS-B
                                                  )
BIG LOTS STORES, INC.,                            )
                                                  )
       Defendant.                                 )


                                             ORDER
       On this date, the parties filed a Joint Notice of Settlement (doc. 9), confirming that they
have settled this matter in its entirety and are now finalizing settlement documents. In light of
this development, it is ORDERED that this action be DISMISSED from the active docket of the
Court, with prejudice, provided that any party may move to reinstate the action within 30 days
after the date of entry of this Order if the settlement agreement or other appropriate settlement
documentation is not consummated.
       No other order shall be forthcoming from the Court except upon application by any party
for final judgment, as prescribed by Rule 58, Federal Rules of Civil Procedure.
       Each party is to bear her, his or its own costs, unless otherwise agreed by the parties.


       DONE and ORDERED this 10th day of March, 2020.

                                              s/ WILLIAM H. STEELE
                                              UNITED STATES DISTRICT JUDGE
